     Case 2:21-cv-02506-MSN-cgc           Document 32        Filed 09/30/22       Page 1 of 11
                                          PageID 198



                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________

JUSTIN JAICO GRIHAM AND
EMMANUEL L. MENIRU,

       Plaintiffs,

v.                                                    Case No. 2:21-cv-02506-MSN
                                                      JURY DEMAND

CITY OF MEMPHIS, TENNESSEE,
TAIYUAN BROOKS, A. MALONE and
JOHN AND JANE DOES 1-10 MEMPHIS
POLICE DEPARTMENT OFFICERS
in their Official and Individual Capacities,

      Defendants.
______________________________________________________________________________

ORDER GRANTING DEFENDANT OFFICERS’ MOTION TO DISMISS IN PART AND
                       STAYING PROCEEDINGS IN PART
______________________________________________________________________________

       Before the Court is Defendant Memphis Police Department Officers Taiyuan Brooks, A.

Malone, and John and Jane Does 1–10’s (“Officers”) Motion to Dismiss, filed September 1, 2021.

(ECF No. 14, “Motion”.) Plaintiffs timely filed a Response on September 23, 2021. (ECF No.

18.) 1 The Officers filed their Reply on October 13, 2021. (ECF No. 20.) For the reasons below,



1
  Plaintiffs’ Response, however, only addresses the arguments raised by the City of Memphis,
whose Motion to Dismiss has been adjudicated in an earlier Order. (ECF No. 13.) Though
Plaintiffs filed the Response as a Response to both the City of Memphis’ and the Officers’
Motions to Dismiss, its title (“Plaintiffs Justin Jaico Griham and Emmanuel L. Meniru’s
Response to Defednant [sic] City of Memphis’s Motion to Dismiss”) also indicates that Plaintiffs
did not intend to address the arguments raised in the Officers’ Motion. Consequently, Plaintiffs
have waived their response as to the Officers’ arguments because they have failed to address
them in their Response. See Humphrey v. United States AG Office, 279 F. App’x 328, 332 (6th
Cir. 2008); Scott v. State of Tenn., 878 F.2d 382 (6th Cir. 1989) (“It is an established principle of
law that a district court may properly dismiss a plaintiff’s case for want of
    Case 2:21-cv-02506-MSN-cgc             Document 32        Filed 09/30/22      Page 2 of 11
                                           PageID 199



the Officers’ Motion to Dismiss as to Plaintiffs’ claims under the First, Fifth, and Eighth

Amendments, and to Plaintiffs’ claim under the Tennessee Governmental Tort Liability Act

(“TGTLA”) is GRANTED. Plaintiffs claims under the Fourth and Fourteenth Amendments are

STAYED pending resolution of their criminal proceedings.

                                         BACKGROUND

       The Court must determine whether the Amended Complaint states a plausible claim against

the Officers arising from their conduct during their apprehension and arrest of Plaintiffs. Plaintiffs

sued the City and Officers individually for compensatory and punitive damages related to injuries

incurred from conduct that allegedly violated their constitutional rights under 42 U.S.C. § 1983.

(ECF No. 8 at PageID 39.)

       Specifically, on April 4, 2021, Plaintiffs, accompanied by others, rode all-terrain vehicles

(“ATVs”) in the Lamar Avenue and Knight Arnold Road area in Memphis. (ECF No. 1 at PageID

5.) When they attempted to depart this area, Defendant Officers allegedly pursued them in police

cruisers and, without warning, struck Plaintiffs’ ATVs with their vehicles forcing them from the

road.2 (ECF No. 8 at PageID 43.) Thereafter, Defendant Officers are alleged to have forcefully

restrained Plaintiffs and handcuffed them, resulting in physical injuries to Plaintiffs. (Id.)




prosecution. Similarly, if a plaintiff fails to respond or to otherwise oppose a defendant’s
motion, then the district court may deem the plaintiff to have waived opposition to the motion.”
(citations omitted)); Moody v. CitiMortgage, Inc., 32 F. Supp. 3d 869, 875 (W.D. Mich.
2014) (“A plaintiff must oppose a defendant’s motion to dismiss or otherwise respond or he
waives opposition to the motion.”).
       2
          The Amended Complaint further alleges that a police cruiser “almost landed on top of”
Plaintiff Meniru when it forced him from the road. (Id.)


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    Case 2:21-cv-02506-MSN-cgc               Document 32        Filed 09/30/22       Page 3 of 11
                                             PageID 200



        On August 5, 2021, Plaintiffs filed their Complaint against the Officers in their official and

individual capacities (Claim I) as well as the City of Memphis (Claim II).3 (Id. at PageID 7, 19.)

Plaintiffs filed their Amended Complaint one day later. (ECF No. 8.) The Officers filed the instant

Motion under Fed. R. Civ. P 12(b)(6) on September 1, 2021. (ECF No. 14.)

                                        LEGAL STANDARD

        Deciding a motion to dismiss for failure to state a claim under Rule 12(b)(6), the Court

must “construe the complaint in the light most favorable to the plaintiff, accept its allegations as

true, and draw all reasonable inferences in favor of the plaintiff.” Cook v. Ohio Nat’l Life Ins. Co.,

961 F.3d 850, 855 (6th Cir. 2020) (quoting Handy-Clay v. City of Memphis, 695 F.3d 531, 538

(6th Cir. 2012)). The Court adopts this framework to determine whether the complaint alleges

“sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)). The complaint will be found plausible on its face only when “the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 556). While a complaint

need not include detailed factual allegations, a plaintiff’s “[t]hreadbare recitals of the elements of

a cause of action, supported by mere conclusory statements, do not suffice.” Iqbal, 556 U.S. at

678 (citing Twombly, 550 U.S. at 556). Stated differently, “[t]he factual allegations need not be

overly detailed, but nor can they merely recite the elements of a cause of action and make a ‘the-

defendant-did-it’ allegation.” Siefert v. Hamilton Cnty., 951 F.3d 753, 759 (6th Cir. 2020); see

also Ass’n of Cleveland Fire Fighters v. City of Cleveland, 502 F.3d 545, 548 (6th Cir. 2007)



        3
         This Order addresses only those claims asserted in Claim I, against the Officers. Claims
against the City have been dismissed in an earlier separate Order that assesses the City’s Motion
to Dismiss. (See ECF No. 31.)
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     Case 2:21-cv-02506-MSN-cgc            Document 32        Filed 09/30/22      Page 4 of 11
                                           PageID 201



(quoting Twombly, 550 U.S. at 555) (“Factual allegations must be enough to raise a right to relief

above [a] speculative level.”) If a court, relying on its judicial experience and common sense,

determines that the claim is not plausible, the case may be dismissed at the pleading stage. Iqbal,

556 U.S. at 679. “[O]nly a complaint that states a plausible claim for relief survives a motion to

dismiss.” Id.; Twombly, 550 U.S. at 556.

                                          DISCUSSION

       The Officers raise two primary bases for dismissal in their Motion: (1) Plaintiffs’ claims

are barred under Heck v. Humphrey, 512 U.S. 447, 487 (1994) and (2) they are entitled to a

qualified immunity affirmative defense. (ECF No. 14 at PageID 91–93.) They further argue that,

to the extent applicable, Plaintiffs have failed to state a claim under the Fifth, Eighth, and

Fourteenth Amendments to U.S. Constitution, or under the TGTLA. (Id. at PageID 92–94.) The

Officers ultimately contend that Heck is dispositive on all claims. (ECF No. 14 at PageID 88; ECF

No. 20 at PageID 152.) Other than stating that “[u]nder well-established law on the above

violations, Defendant Officers are not entitled to qualified or other immunity for these actions,”

Plaintiffs do not address the Officers’ bases for dismissal. (ECF No. 8 at PageID 40.)

A.     Plaintiffs’ Fourth Amendment Claims under § 1983

       Plaintiffs bring claims for wrongful arrest, excessive force, and unreasonable search and

seizure in violation of the Fourth and Fourteenth Amendments to the U.S. Constitution. (ECF No.

1 at PageID 2.) The Officers argue that these claims are barred under Heck because both Plaintiffs

are facing charges arising from the April 4, 2021 incident that are still pending in state court. (ECF

No. 14 at PageID 89.) In Heck, the U.S. Supreme Court held:

       [I]n order to recover damages for allegedly unconstitutional conviction or
       imprisonment, or for other harm caused by actions whose unlawfulness would
       render a conviction or sentence invalid, a § 1983 plaintiff must prove that the
       conviction or sentence has been reversed on direct appeal, expunged by executive

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    Case 2:21-cv-02506-MSN-cgc             Document 32        Filed 09/30/22       Page 5 of 11
                                           PageID 202



       order, declared invalid by a state tribunal authorized to make such determination,
       or called into question by a federal court’s issuance of a writ of habeas corpus, 28
       U.S.C. § 2254.

512 U.S. at 486–87.      While Heck clearly bars § 1983 claims brought post-conviction, its

application to pending charges is not so evident. Prior to 2007, the Sixth Circuit found that Heck

also forecloses § 1983 claims brought by plaintiffs with pending criminal charges if success on

their § 1983 claim would “imply the invalidity of a future conviction.” Shamaeizadeh v. Cunigan,

182 F.3d 391, 398 (6th Cir. 1999). See also Gorenc v. City of Westland, 72 F. App’x 336, 339

(6th Cir. 2003) (quoting Shamaeizadeh, 182 F.3d at 398) (“[T]he concerns of Heck apply pre-

conviction as well as post-conviction”); Id. (quoting Beck v. City of Muskogee Police Dep’t, 195

F.3d 553, 557 (10th Cir. 1999)) (“[Thus, ‘Heck precludes 1983 claims relating to pending charges

when a judgment in favor of the plaintiff would necessarily imply the validity of any conviction

or sentence that might result from prosecution of the pending charges.’”).

       But in 2007, the U.S. Supreme Court declined to adopt the principle that “an action which

would impugn an anticipated future conviction cannot be brought until that conviction occurs and

is set aside.” Wallace v. Kato, 549 U.S. 384, 393 (2007). Viewing that approach as a “bizarre

extension of Heck,” the Court explained:

       If a plaintiff files a false arrest claim before he has been convicted (or files any other claim
       related to rulings that will likely be made in a pending or anticipated criminal trial), it is
       within the power of the district court, and in accord with common practice, to stay the civil
       action until the criminal case or the likelihood of a criminal case is ended.

Id. at 393–94. See also McDonough v. Smith, 139 S.Ct. 2149, 2158 (2019) (citing Wallace, 549

U.S. at 393–94 to note that stays and ad hoc abstention are available for claims outside the scope

of Heck—like “civil actions while criminal prosecutions proceed”); Fox v. DeSoto, 489 F.3d 227,

234 (6th Cir. 2007) (stating that Wallace “effectively abrogates the holding in Shamaeizadeh” and

“clarified that the Heck bar has no application in the pre-conviction context”). District courts in


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     Case 2:21-cv-02506-MSN-cgc           Document 32        Filed 09/30/22      Page 6 of 11
                                          PageID 203



the Sixth Circuit have followed Wallace’s guidance. See, e.g., Cimiotta v. Slaubaugh, No. 3:17-

cv-P594-DJH 2018, WL 617040, at *1 (W.D. Ky. Jan. 29, 2018) (“In light of Wallace v. Kato, if

Plaintiff had a criminal case stemming from his allegations that is still pending, it might be

necessary for the Court to stay the instant action until completion of the criminal matter.

Alternatively, if Plaintiff has been convicted of the charges which he claims were brought illegally,

his claims might be barred by the doctrine announced in Heck v. Humphrey.”); Robb v. Hammock,

No. 3:18-cv-01146, 2019 WL 330883, at *3 (M.D. Tenn. Jan. 25, 2019) (deeming a stay

appropriate due to § 1983 plaintiff’s pending state criminal proceedings).

       Here, the Officers contend, and Plaintiffs do not deny, that Plaintiffs have charges pending

in state court related to the allegations underlying their § 1983 claims. Because Plaintiffs’ Fourth

Amendment claims against Defendant Officers are clearly “related to rulings that will likely be

made in a pending or anticipated criminal trial,” Wallace, 549 U.S. at 393–94, the Court will refrain

from considering the merits of Plaintiffs’ Fourth Amendment claims at this time and will STAY

them pending resolution of Plaintiffs’ pending criminal proceedings. Accordingly, the Court will

not proceed to analysis of Officers’ qualified immunity defense to these claims at this time.

B.     First Amendment Claim

       Based on the record in this case, the Court sees no reason to think Heck forecloses its

consideration of Plaintiffs’ First Amendment claim at this stage.4 In fact, while Plaintiffs appear



4
  The Court recognizes that Heck and Wallace might bar, or require a court to stay its
consideration of, a First Amendment claim. See, e.g., Ashton v. City of Uniontown, No. 11-1937,
2012 WL 208055 (3d. Cir. Jan. 25, 2012) (finding that Heck barred plaintiff’s First Amendment
retaliation claim because his convictions arose out of conduct potentially protected under the
First Amendment). But that is not the case here. In their Response to Defendant City of
Memphis’ Motion to Dismiss (which apparently doubles as their response to the Officers’
Motion to Dismiss), Plaintiffs slightly elaborate on their Complaint to indicate a First
Amendment retaliation claim based on injuries incurred due to an insufficient policy of the City.
(ECF No. 18 at PageID 129.) Since this argument does not apply to Officers, because Plaintiffs
                                                 6
    Case 2:21-cv-02506-MSN-cgc              Document 32        Filed 09/30/22       Page 7 of 11
                                            PageID 204



to have contemplated a First Amendment claim in their Complaint, the only reference to the First

Amendment in the Complaint is the assertion that the Court has jurisdiction to hear this case

because “[t]his action is brought pursuant to . . . 42 U.S.C. § 1983 and § 1988 and the First . . .

Amendment.” (ECF No. 8 at PageID 40.) As Plaintiffs provide no factual information to

support their First Amendment claim against the Officers, the Court does not find that the

Complaint alleges “sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Iqbal, 556 U.S. at 678 (2009) (citing Twombly, 550 U.S. at 570 (2007)).

        In addition to their argument that Plaintiffs do not state a claim for which relief can be

granted, Defendants argue that they are entitled to qualified immunity (ECF No. 14 at PageID

88, 92–93.) “Qualified immunity shields federal and state officials from money damages unless

a plaintiff pleads facts showing (1) that the official violated a statutory or constitutional right,

and (2) that the right was ‘clearly established’ at the time of the challenged conduct.” Ashcroft v.

al-Kidd, 563 U.S. 731, 735 (2011) (quoting Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)).

Having found that Plaintiffs have failed to allege facts plausibly showing Defendants violated

Plaintiffs’ rights under the First Amendment, the Court also finds that Defendants are entitled to

qualified immunity on Plaintiffs’ First Amendment claim. See Myers v. City of Centerville,

Ohio, 41 F.4th 746, 758 (6th Cir. 2022) (“[D]istrict courts have ‘a duty to address’ qualified

immunity when it is properly raised prior to discovery’”); Id. at 759 (“[I]f the complaint fails to

allege facts plausibly showing the violation of a constitutional right (regardless of whether that

right was clearly established), granting qualified immunity is appropriate on the pleadings.”)




nowhere allege that the Officers’ conduct was in any way related to Plaintiffs’ speech, and since
it does not appear that Plaintiffs’ pending charges involve speech, the Court does not believe
Heck and Wallace bar disposition of this claim.
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       Case 2:21-cv-02506-MSN-cgc           Document 32        Filed 09/30/22       Page 8 of 11
                                            PageID 205



Accordingly, Plaintiffs’ claim under the First Amendment will be DISMISSED WITH

PREJUDICE.

C.       Eighth Amendment Claim under 42 U.S.C. § 1983

         Plaintiffs also raise a claim under the Eighth Amendment to the U.S. Constitution in their

Complaint. (ECF No. 8 at PageID 44.) As Eighth Amendment claims generally do not implicate

Heck, the Court will address this claim. See Huey v. Stine, 230 F.3d 226, 230 (6th Cir. 2000),

overruled in part on other grounds by Muhammad v. Close, 540 U.S. 749, 754–55 (2004) (“Eighth

Amendment claims do not run afoul of Heck because the question of the degree of force used by

a police or corrections officer is analytically distinct from the question whether the plaintiff

violated the law”).

         The only clear grounds Plaintiffs offer to support their Eighth Amendment claim is their

assertion that “Defendants, jointly and/or severally, deprived [Plaintiffs] of . . . those rights,

privileges, and immunities secured by the . . . Eighth Amendment[] to the Constitution as

incorporated and applied to the states through the Fourteenth Amendment.” (ECF No. 8 at PageID

44.)    The Complaint then lists four violations that, presumably, implicate that Amendment (as

well as others): (1) the false arrest of Plaintiffs in violation of the Fourth Amendment, (2)

Defendants’ excessive force in detaining Plaintiffs, (3) the failure to intervene upon the Officer’s

violation of Plaintiffs’ constitutional rights, and (4) the failure to supervise and / or train in order

to prevent such violations. (Id.)

         The Eighth Amendment’s ban on cruel and unusual punishment “applies to excessive force

claims brought by convicted criminals serving their sentences” and cannot be brought by Plaintiffs

because they are not convicted criminals. See Aldini v. Johnson, 609 F.3d 8568, 864 (6th Cir.

2010); Graham v. Connor, 460 U.S. 386, 398–99 (1989) (quoting Ingraham v. Wright, 430 U.S.



                                                   8
      Case 2:21-cv-02506-MSN-cgc           Document 32         Filed 09/30/22      Page 9 of 11
                                           PageID 206



651, 671 n.40 (1977)) (“[T]he less protective Eighth Amendment standard applies ‘only after the

State has complied with the constitutional guarantees traditionally associated with criminal

prosecutions.’”)    Regardless, Plaintiffs’ Complaint lacks the factual assertions necessary to

establish a claim under the Eighth Amendment. Because Plaintiffs fail to allege a plausible claim

under the Eighth Amendment, the Court also finds that Defendants are entitled to qualified

immunity on Plaintiffs’ Eighth Amendment claim.5 Thus, the Eighth Amendment does not afford

Plaintiffs relief and Plaintiffs’ claim under the Eighth Amendment will be DISMISSED WITH

PREJUDICE.

D.       Fifth Amendment Claim under 42 U.S.C. § 1983

         Plaintiffs also raise a claim under the Fifth Amendment to the U.S. Constitution,

presumably under that Amendment’s protection against deprivations of “life, liberty, or property,

without due process of law.” (ECF No. 8 at PageID 44, 49–50.) Specifically, Plaintiffs argue

that the Officers violated their Fifth Amendment rights in the four ways mentioned above, but

also in Officers’ “use[] and abuse[] [of] their badges and their authority bestowed by MPD to

interfere with Plaintiff’s [sic] liberty without reasonable and just cause . . . .” (ECF No. 8 at

PageID 50). Plaintiffs also allege that Defendants “violated [Plaintiffs’] federal constitutional

rights and civil liberties guaranteed by the . . . Fifth Amendment[] by unlawfully seizing thier”

[sic]. (ECF No. 8 at PageID 49.)

         The Fifth Amendment does not apply in this case because Plaintiffs have not alleged any

federal action. See Scott v. Clay Cnty., Tenn., 205 F.3d 867, 873 n. 8 (6th Cir. 2000) (citing Sturgell

v. Creasy, 640 F.2d 843, 850 (6th Cir. 1981)) (“the Fifth Amendment’s Due Process Clause

circumscribes only the actions of the federal government”); Walker v. Hughes, 558 F.2d 1247,



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    See cases accompanying qualified immunity discussion infra p. 7.
                                                  9
      Case 2:21-cv-02506-MSN-cgc          Document 32        Filed 09/30/22      Page 10 of 11
                                           PageID 207



1257 (6th Cir. 1977). Even if it did, Plaintiffs’ Complaint is so devoid of factual content to support

this claim that the Court cannot “draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 556). Because Plaintiffs

fail to allege a plausible claim under the Fifth Amendment, the Court also finds that Defendants

are entitled to qualified immunity on Plaintiffs’ Fifth Amendment claim.6            Thus, the Fifth

Amendment does not afford Plaintiffs relief and Plaintiffs’ claim under the Fifth Amendment will

be DISMISSED WITH PREJUDICE.

E.       TGTLA Claim

         Plaintiffs “demand a bench trial for claims under the Tennessee Tort Claims Act.” (ECF

No. 8 at PageID 60.) It is unclear from the Complaint against whom Plaintiffs mean to allege this

claim. Reading the Complaint generously, it is possible that Plaintiffs seek to raise this claim

against Defendant Officers on the grounds of negligence. (See ECF No. 8 at PageID 60.) To the

extent they seek to do that here, state law forecloses that option. See TENN. CODE. ANN. §§ 29-20-

205; 29-20-310(b); see also Robinson v. City of Memphis, 340 F. Supp. 2d. 864, 873 (W.D. Tenn.

2004) (holding that police officer was immune from suit for negligence under Tennessee law

because the City waived its immunity for claims based on negligent acts of its employees). Further,

Plaintiffs’ Complaint fails to state “a plausible claim for relief” sufficient to survive a motion to

dismiss. Iqbal, 556 U.S. at 679; Twombly, 550 U.S. at 556. Accordingly, Plaintiffs’ claim under

GTLA against Defendant Officers is DISMISSED WITH PREJUDICE.

                                          CONCLUSION

         For the foregoing reasons, Defendant Officers’ Motion to Dismiss is GRANTED IN

PART. Plaintiffs’ claims under the First, Fifth, and Eighth Amendments and Plaintiffs’ claims


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    See cases accompanying qualified immunity discussion infra p. 7.
                                                 10
   Case 2:21-cv-02506-MSN-cgc           Document 32        Filed 09/30/22     Page 11 of 11
                                         PageID 208



under the TGTLA are DISMISSED WITH PREJUDICE. For the reasons explained above, the

Court finds it appropriate to abstain from deciding Plaintiffs’ Fourth and Fourteenth Amendment

claims. Accordingly, the matter is hereby STAYED pending resolution of Plaintiffs’ state

proceedings. Plaintiffs are DIRECTED to inform the Court upon resolution of either of Plaintiffs’

proceedings and move to reopen this case no fewer than forty-five (45) days after said resolution.

       IT IS SO ORDERED, this 30th day of September, 2022.

                                                    s/ Mark S. Norris
                                                    MARK S. NORRIS
                                                    UNITED STATES DISTRICT JUDGE




                                               11
